              Case 3:19-cr-00367-CRB Document 177 Filed 02/20/20 Page 1 of 5




 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 RYAN REZAEI (CABN 285133)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7534
 7        FAX: (415) 436-7234
          ryan.rezaei@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) NO. 19-CR-367-15 CRB
                                                      )
14           Plaintiff,                               ) UNITED STATES’ SENTENCING
                                                      ) MEMORANDUM
15      v.                                            )
                                                      )
16   RUDIS VALLADERES-CACERES,                        )
                                                      )
17           Defendant.                               )
                                                      )
18

19           The United States requests that the Court sentence Rudis Valladeres-Caceres to a guidelines term
20 of imprisonment for his conviction for illegal use of a communication facility. However, if the Court is

21 inclined to vary downward, the government requests an imprisonment term of not less than 13 months

22 and one day.

23           At his recent change-of-plea hearing, the defendant waived the presentence investigation report.
24 So it can move forward with sentencing without a presentence investigation and report, the Court may

25 wish to review the items listed below. See Fed. R. Crim. P. 32(c)(1)(A) (the probation officer must

26 conduct a presentence investigation and submit a report to the court before it imposes sentence unless

27 the court finds that the information in the record enables it to meaningfully exercise its sentencing

28 authority). Reviewing the below items is especially important because the Court must determine the

     U.S. SENTENCING MEMORANDUM                      1
     19-CR-367-15 CRB
             Case 3:19-cr-00367-CRB Document 177 Filed 02/20/20 Page 2 of 5




 1 applicability of the mitigating role adjustment, a provision which the parties left “open” in the

 2 defendant’s plea agreement. If the Court applies the two-level downward adjustment for minor

 3 participation—which the government argues for below—the defendant’s total offense level will be 17,

 4 yielding a guidelines range of 24-30 months.

 5 I.       The Defendant’s Guidelines Range, the Open Mitigating Role Adjustment, and the
            Defendant’s Criminal History Category
 6

 7          The defendant pled guilty pursuant to a plea agreement. Dkt. 171. Paragraph 7 of the plea

 8 agreement included the following guidelines calculation:

 9                      Base Offense Level, U.S.S.G. § 2D1.6                           24
10                      Mitigating Role Reduction                                    Open
11                      Acceptance of Responsibility                                   -3
12                      Additional Departure – Global Disposition                      -2
13

14 The plea agreement left “open” the mitigating role reduction. In other words, the parties may litigate

15 that adjustment’s applicability at sentencing.

16          In a previous filing, the government determined the defendant’s Criminal History Category was
17 I. Dkt. 150, p. 3.

18 II.      The Items the Court May Wish to Review
19          The government recommends that the Court review the below items before sentencing.
20 Reviewing these items should allow the Court to make the requisite finding under Rule 32(c)(1)(A)(ii)

21 of the Federal Rules of Criminal Procedure and help the Court determine the applicability of the open

22 mitigating role adjustment.

23          1.     Complaint in No. 3-19-71145 TSH
24          The Court should first review the complaint in No. 3-19-71145 TSH. The complaint summarizes
25 the extensive activities of the drug trafficking organization (“DTO”) of which the defendant was a

26 member. As stated in the complaint, the DTO supplied street level dealers with drugs. These street

27 level dealers lived in houses and apartments furnished by the DTO, and each street level dealer was

28

     U.S. SENTENCING MEMORANDUM                        2
     19-CR-367-15 CRB
              Case 3:19-cr-00367-CRB Document 177 Filed 02/20/20 Page 3 of 5




 1 required to pay rent and sell the drugs the DTO provided. See, e.g., No. 3-19-71145 TSH, Complaint

 2 Affidavit, ¶¶ 17-19. The defendant was not charged in this complaint and is not mentioned in the

 3 complaint affidavit. The Court should nonetheless review the complaint so it can determine the

 4 defendant’s culpability relative to that of his co-defendants. See United States v. Diaz, 884 F.3d 911,

 5 916-17 (9th Cir. 2018) (in assessing U.S.S.G. § 3B1.2’s applicability, district courts must compare a

 6 defendant’s involvement to that of all likely participants in the criminal scheme for whom there is

 7 sufficient evidence of their existence and participation).

 8          2.      Complaint in No. 3-19-71206 EDL

 9          The above-named defendant was charged in a separate complaint in No. 3-19-71206 EDL. The

10 complaint affidavit describes the defendant’s role in the case. He was one of the street level dealers who

11 lived in the houses and apartments furnished by the DTO and sold drugs on the DTO’s behalf.

12          3.      Defendant’s Plea Agreement in No. 19-CR-367-15 CRB

13          After the defendant was charged by complaint, the grand jury returned an indictment charging

14 him—and 13 others—with conspiracy. See No. 19-CR-367 CRB. The factual basis in the defendant’s

15 plea agreement succinctly describes the defendant’s role in the DTO. Dkt. 171, ¶ 2. He admits he was

16 one of the street level dealers who lived in the houses and apartments furnished by the DTO and sold

17 drugs on its behalf on the streets of San Francisco, including in the Tenderloin.

18          4.      Complaint Against Co-Defendant Julio Cesar Viera Chirinos in No. 3-19-71156

19          Julio Cesar Viera Chirinos, a/k/a “Chino” (“Julio”), was charged along with the defendant in the

20 indictment in No. 19-CR-367 CRB. However, before the grand jury returned the indictment, Julio had

21 been charged in his own complaint—a third complaint separate from the two mentioned above—in No.

22 3-19-71156 MAG. The complaint affidavit summarizes Julio’s minimal role in the case.

23          5.      Julio’s Plea Agreement (Dkt. 122) in No. 19-CR-367 CRB

24          Julio was the first to be sentenced in No. 19-CR-367. He received a time-served sentence and a

25 four-level downward adjustment for minimal participation under U.S.S.G. § 3B1.2(a). See No. 19-CR-

26 367 CRB, Dkt. 143.

27          The factual basis from Julio’s plea agreement (Dkt. 122) clarifies Julio’s role in the case.

28 Understanding Julio’s role in the DTO is critical to determining the applicability of the mitigating role

     U.S. SENTENCING MEMORANDUM                       3
     19-CR-367-15 CRB
              Case 3:19-cr-00367-CRB Document 177 Filed 02/20/20 Page 4 of 5




 1 adjustment which has been left open for the Court’s determination: the above-named defendant, as a

 2 street-level dealer, played a larger role in this case than Julio, who received the four-level minimal

 3 participant adjustment. As argued below, the above-named defendant, who played a larger role in the

 4 DTO than Julio, should receive only a two-level downward adjustment for minor participation.

 5 III.     LAW AND ARGUMENT

 6          Based on the defendant’s culpability relative to that of his co-defendants—including Julio, who

 7 received the four-level downward adjustment for minimal participation and had the smallest role in the

 8 case—the government believes the defendant is only entitled to a two-level downward adjustment for

 9 minor participation. See U.S.S.G. § 3B1.2(b).
10          The defendant was a street level dealer who lived in the houses and apartments furnished by the

11 DTO and sold drugs on its behalf. He was “less culpable than most other participants in the criminal

12 activity” and should accordingly receive a two-level reduction for minor participation. See U.S.S.G.

13 § 3B1.2, comment. (n.5) (the minor participant adjustment applies to a defendant who is “less culpable

14 than most other participants in the criminal activity, but whose role could not be described as minimal”).

15          However, the above-named defendant’s role cannot be described as minimal, which was the case

16 with Julio. U.S.S.G. § 3B1.2, comment. (n.4) (describing a minimal participant as a defendant who is

17 “plainly among the least culpable of those involved in the conduct of a group”). Julio was caught in a

18 house with a minimal amount of drugs. In contrast to the defendant, the evidence does not show Julio

19 was a street level dealer like the defendant; Julio had an even lesser role.

20          The defendant has the burden of establishing by a preponderance that he was a minor or minimal

21 participant. United States v. Rosas, 615 F.3d 1058, 1067 (9th Cir. 2010). But the evidence only

22 establishes that the defendant was a minor participant: he was less culpable than most other participants

23 in the criminal activity, but his role cannot be described as minimal.

24          Applying the two-level downward adjustment for minor participation under U.S.S.G. § 3B1.2(b)

25 results in a total offense level of 17. Because the defendant falls in Criminal History Category I, the

26 applicable guidelines range is 24-30 months. (On the other hand, if the Court applies the four-level

27 minimal participation adjustment, his total offense level will be 15, yielding a guidelines range of 18-24

28 months.)

     U.S. SENTENCING MEMORANDUM                       4
     19-CR-367-15 CRB
            Case 3:19-cr-00367-CRB Document 177 Filed 02/20/20 Page 5 of 5




 1 IV.     CONCLUSION

 2         The United States recommends a guidelines sentence. But if the Court is inclined to vary

 3 downward, it recommends a sentence of not less than 13 months and one day.

 4 DATED: February 20, 2020                                   Respectfully submitted,

 5                                                            DAVID L. ANDERSON
                                                              United States Attorney
 6

 7
                                                                     /S/
 8                                                            RYAN REZAEI
                                                              Assistant United States Attorney
 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     U.S. SENTENCING MEMORANDUM                    5
     19-CR-367-15 CRB
